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1                                                                     The Honorable Robert J. Bryan

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7
                              UNITED STATES DISTRICT COURT
8                            WESTERN DISTRICT OF WASHINGTON

9      STATE OF WASHINGTON,                                   CIVIL ACTION NO. 3:17-cv-05806-RJB
10                            Plaintiff,
                                                              WASHINGTON’S MOTION TO
11                 v.                                         SEAL DOCUMENT AND ORDER
12     THE GEO GROUP, INC.,

13                            Defendant.

14                                    I.         INTRODUCTION

15          In compliance with Local Civil Rule (LCR) 5(g), Washington submits this motion to

16   permit Washington to file under seal the declaration of Kathy Oline, the Assistant Director of

17   Research and Fiscal Analysis for the Washington State Department of Revenue. In discussing

18   Washington’s generally-applicable tax structure, Ms. Oline’s declaration discloses tax

19   information that must be treated as confidential under both federal and state law. See Wash. Rev.

20   Code § 82.32.330(2).

21                                         II.    AUTHORITY

22          This motion is brought in accordance with Federal Rule of Civil Procedure 26(c), LCR

23   5(g), and the terms of the Stipulated Protective Order, ECF No. 70.

24          Federal Rule of Civil Procedure 26(c) provides for the entry of “any order which justice

25   requires to protect a party or person from annoyance, embarrassment, oppression or undue

26   burden or expense.” Pursuant to LCR 26(c)(2), the Stipulated Protective Order protects specific

      WASHINGTON’S MOTION TO SEAL                         1             ATTORNEY GENERAL OF WASHINGTON
                                                                                 Civil Rights Division
      DOCUMENT                                                               800 Fifth Avenue, Suite 2000
                                                                               Seattle, WA 98104-3188
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1    categories of confidential, proprietary, or private information, but “does not presumptively

2    entitle the parties to file confidential information under seal.” See also ECF No. 70 at 2, ¶ 1.

3           In support of its response to the Court’s Proposed Order, Washington seeks to file under

4    seal a declaration from a Washington Department of Revenue representative regarding a

5    taxpayer’s obligations to comply with Washington’s generally-applicable state tax laws. Such

6    information is confidential pursuant to Wash. Rev. Code 82.32.330(2).

7                           III.       CERTIFICATION OF COUNSEL

8           Washington certifies, pursuant to LCR 5(g)(3)(A), that counsel for Washington, Marsha

9    Chien, and counsel for GEO, Colin Barnacle, corresponded on October 4, 2019 regarding the

10   need to file this document under seal. Washington shared the declaration it intended to file under

11   seal accompanying its Response to the Court’s Proposed Order Granting Summary Judgment of

12   Dismissal. GEO did not agree to Washington’s filing and did not stipulate to this motion.

13                                      IV.     CONCLUSION

14          Accordingly, based on Washington’s showing of good cause, the Court should enter the

15   below Order authorizing Washington to file Oline’s declaration under seal.

16          Dated this 4th day of October, 2019.

17                                                 Respectfully submitted,
18
                                                   ROBERT FERGUSON
19                                                 Attorney General of Washington

20                                                 s/ Marsha Chien
                                                   MARSHA CHIEN, WSBA No. 47020
21
                                                   ANDREA BRENNEKE, WSBA No. 22027
22                                                 LANE POLOZOLA, WSBA No. 50138
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1                                               ORDER

2           The Court, having considered the representations set forth above, and finding good cause,

3    hereby GRANTS Washington’s Motion to Seal Documents and authorizes the filing of the

4    Declaration of Kathy Oline under seal.

5           IT IS SO ORDERED

6           Dated this 7th day of October, 2019.

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                                          A
                                          ROBERT J. BRYAN
10                                        United States District Judge

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